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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE:                                           §
                                                 §
SERVICE ONE, LLC                                 §    CASE NO. 22-40503
                                                 §       (Chapter 11)
DEBTOR                                           §

               AMENDED DISCLOSURE OF ATTORNEY COMPENSATION

         Pursuant to 11 U.S.C. § 329 and FED. R. BANKR. P. 2016(b), the undersigned, a shareholder

of the law firm of Quilling, Selander, Lownds, Winslett, & Moser, P.C. (“QSLWM”), proposed

bankruptcy counsel for Service One, LLC (the “Debtor”), certifies the following under penalty of

perjury:

         1.     On April 21, 2022, the Debtor filed a voluntary petition in this Court under Chapter

11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”),

thereby commencing the above-captioned bankruptcy case.

         2.     On April 20, 2022, QSLWM was paid a retainer of $12,000.00 from Sandra Perry.

Ms. Perry is a member of the Debtor.

         3.     The original disclosure of compensation filed by QSLWM stated that the

$12,000.00 retainer was paid one-half by Ms. Perry and one-half by Dell James. QSLWM recently

learned that the entire retainer was paid by Ms. Perry.

         4.     On April 21, 2022, prior to the filing of this case, QSLWM applied $9,721.50 of

the retainer to unpaid pre-petition attorneys’ fees and expenses associated with preparing and filing

this case. Additionally, QSLWM used $1,738.00 of the retainer for the Chapter 11 filing fee. Thus,

QSLWM filed this Chapter 11 case with a $540.50 retainer, which is being held in trust.

                      Total Pre-Petition Retainer:                           $12,000.00



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                    Unpaid Pre-Petition Attorney’s Fees and Expenses: ($9,721.50)
                    Chapter 11 Filing Fee:                            ($1,738.00)
                    Remaining Retainer (held in trust):                  $540.50

       5.     Due to the de minimis retainer being held by QSLWM for the Debtor’s Chapter 11

case, QSLWM will seek authority from the Court to be funded a post-petition retainer from the

Debtor in monthly installments of not more than $5,000.00 per month.

       6.     No promises have been received by QSLWM or any member, counsel, or associate

thereof as to the compensation in connection with the instant bankruptcy case other than in

accordance with the provisions of the Bankruptcy Code. QSLWM has no agreement with any other

entity to share with such entity any compensation received by QSLWM in connection with the

above-captioned Chapter 11 case.

       7.     The compensation paid to QSLWM will not be shared with anyone except among

the shareholders of QSLWM.

       Signed on April 28, 2022 .


                                                  QUILLING, SELANDER, LOWNDS,
                                                  WINSLETT & MOSER, P.C.
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                                                  By: /s/ Christopher J. Moser
                                                          Christopher J. Moser
                                                          State Bar No. 14572500

                                                  PROPOSED ATTORNEYS FOR DEBTOR




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